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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

  UNITED STATES OF AMERICA                    CASE NO. 3:21-cr-22(S4)-MMH-MCR
  v.
  MATTHEW RAYMOND HOOVER

  Counsel for Government:                           Counsel for Defendant:
  Laura Taylor                                      Matthew Larosiere
  David Mesrobian                                   Zachary Zermay

                  HONORABLE MARCIA MORALES HOWARD
                     UNITED STATES DISTRICT JUDGE

  Courtroom Deputy: Jodi L. Wiles             Court Reporter: Katharine Healey
  U.S. Probation: Irish Anderson/Amanda Henry


                                CLERK’S MINUTES

 PROCEEDINGS OF:          SENTENCING

 Defendant was found guilty of Counts One through Three, Five, and Seven of the
 Fourth Superseding Indictment.

 Defendant adjudged guilty on Counts One through Three, Five, and Seven of the
 Fourth Superseding Indictment

 Defendant’s Motion for Leave to File Letters in Support of Defendant Hoover Under
 Seal (Dkt. No. 317) is STRICKEN, and the Clerk of the Court is directed to remove
 this document from the Court record. The Court will consider the letters attached
 to the motion.

 The Court heard argument from counsel regarding the objections to the Presentence
 Investigation Report, resolved the objections, and announced the guidelines on the
 record.

 The parties made their presentations, and the Court heard from Defendants and their
 mitigation witnesses.

 The Court will pronounce sentence on September 7, 2023, at 11:30 a.m.




 Date: September 6, 2023
 Times: 9:45 a.m. – 12:35 p.m.; 1:35 p.m. – 3:05 p.m.
 Total: 4 Hours, 20 Minutes
